 

 

Case 1:18-cv-02844-RDB Document 22 Filed 09/26/18 Page
Case 1:18-cv-02844-RDB Document 20-1 Filed 09/25/18 Page

of 3
of 3

a

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff, Case No. RDB-18-2844

¥.

KEVIN B. MERRILL, et al.,

Defendants.

 

 

[PROPOSED] ORDER GRANTING PLAINTIFF SECURITIES AND EXCHANGE
COMMISSION’S MOTION FOR EXTENSION OF TEMPORARY RESTRAINING
ORDER FREEZING ASSETS AND GRANTING OTHER EMERGENCY RELIEF AND
ORDER APPOINTING TEMPORARY RECEIVER

Plaintiff Securities and Exchange Commission (the “SEC”), has filed a motion
pursuant to Federal Rule of Civil Procedure 65(b)(2) to extend the Temporary
Restraining Order Freezing Assets and Granting Other Emergency Relief (the “TRO”)
and the Order Appointing Temporary Receiver (the “Receiver Order”), entered by this
Court on September 13, 2018 (Dkts. 9, 11), for seven days, until and including October 4,
2018 and to adjourn the previously scheduled preliminary injunction hearing until
October 4, 2018 (the “Motion”).

The Court has considered the Motion and finds that good cause exists for an
extension of the TRO and Receiver Order, in accordance with Federal Rule of Civil
Procedure 65(b)(2), for the following reasons:

1. In issuing the TRO, the Court found there is good cause to believe that the

SEC ultimately will succeed in proving that Defendants have engaged in,

and are likely to engage in, transactions, practices, and courses of business
 

Case 1:18-cv-02844-RDB Document 22 Filed 09/26/18 Page 2 of
Case 1:18-cv-02844-RDB Document 20-1 Filed 09/25/18 Page 2 of

3
that violate Section 17(a) of the Securities Act of 1933 [15 U.S.C. §
77q(a)], and Section 10(b) of the Securities Exchange Act of 1934 (15
U.S.C. § 78}j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5}].

2. The Court found that:

a. an order freezing assets was necessary to preserve the status quo
and to protect the Court’s ability to award equitable relief for the
benefit of any investors who may have been harmed by
Defendant’s conduct; and

b. unless restrained and enjoined by the Court, Defendants may
dissipate, conceal, or transfer from the jurisdiction of this Court
assets that could be subject to an order of disgorgement or an order
to pay civil penalties in this action.

3. The Court further found that the appointment of a receiver in this action
was hecessary and appropriate for the purposes of marshaling and
preserving all assets of Defendants and the affiliate entities of Defendants.

4. Absent further Order of the Court, the TRO will expire on September 27,
2018, at 11:59 p.m.

5. This action was unsealed on September 18, 2018, five days after it was
filed.

6. Defendants have not responded to the Complaint, discovery, or the SEC’s
motion for preliminary injunction, and no attorney has entered an
appearance for any Defendant. Counsel for the SEC represents that today

counsel spoke with Joseph Aronica, Esq., who informed the SEC that he
 

eeumeN aA FARA QUARAB Rage 383

-CV-02844-RDB D

will be representing Defendant Jezierski in this action and that Mr.

Jezierski does not oppose the Motion.

7. In light of this Court’s prior findings, particularly regarding the necessity
of protecting the Court’s ability to award equitable relief for the benefit of
any investors who may have been harmed by Defendants’ conduct, and the
unsealing of this case on September 18, 2018, the arrest of all individual

- Defendants (and the detention of Defendants Merrill and Ledford), there is
good cause for a one-week extension to provide Defendants additional
time to obtain counsel to answer the Complaint and discovery, provide an
accounting, and respond to the SEC’s motion for preliminary injunction.

It is therefore ORDERED that the Motion is GRANTED.

It is further ORDERED that the TRO and Receiver Order are hereby extended
until and including October 4, 2018, at 11:59 p.m.

It is further ORDERED that Defendants wishing to be heard on the SEC’s motion
for a preliminary injunction shall appear in this Court at 10." 8 Mok on October 4,
2018 in Courtroom 5D of the Edward A. Garmatz United States Courthouse, 101 W.
Lombard Street, Baltimore, MD 21201 to show cause, if there be any, why this Court
should not enter a preliminary injunction against them pursuant to Rule 65 of the Federal
Rules of Civil Procedure, extending the relief granted in the TRO, Receiver Order, and
this Order, pending a final adjudication on the merits.

Dated: September 2G 2018

PHIDBM>

Honorable Richard D, Bennett
United States District Court Judge

 
